          Case 3:22-cv-00340-DCG Document 11 Filed 01/27/23 Page 1 of 2
                                                                                             FILED
                                                                                          January 27, 2023
                                                                                      CLERK, U.S. DISTRICT COURT
                                                                                      WESTERN DISTRICT OF TEXAS
                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS                       Laura Loera
                                                               BY: ________________________________
                                   EL PASO DIVISION                                    DEPUTY
______________________________________
                                              §
ERIK SALAIZ,                                  §
                                              §
                          Plaintiff,          §
                                              §
               v.                             §
                                              §
ALLEVIATE TAX, LLC a California Limited       §     EP-22-CV-0340-DCG
Liability Company                             §
                                              §
                                              §
                          Defendant.          §
______________________________________        §


           PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        TO THE HONORABLE COURT AND ALL PARTIES:

        With Defendant Alleviate Tax, LLC neither having answered nor filed a motion to dismiss or for

summary judgment, Plaintiff Erik Salaiz, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), hereby dismisses this

action with prejudice, with each party to bear its own costs, attorneys’ fees, and other fees. See, e.g., Bailey

v. Shell Western E&P, Inc., 609 F.3d 710, 719 (5th Cir. 2010) (holding the plaintiff has an “absolute right”

to a Rule 41(a)(1) dismissal, which right “may not be extinguished or circumscribed by adversary or court”)

(internal quotation marks and citations omitted).

Dated: January 27, 2023,                                    Respectfully submitted,




                                                            ___________________________________
                                                            Erik Salaiz (Pro Se)
                                                            319 Valley Fair Way
                                                            El Paso, TX 79907
                                                            915-929-1527
                                                            e-Mail: salaiz.ep@gmail.com
         Case 3:22-cv-00340-DCG Document 11 Filed 01/27/23 Page 2 of 2




                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION
______________________________________
                                              §
ERIK SALAIZ,                                  §
                                              §
                          Plaintiff,          §
                                              §
               v.                             §
                                              §
ALLEVIATE TAX, LLC a California Limited       §     EP-22-CV-0340-DCG
Liability Company                             §
                                              §
                                              §
                          Defendant.          §
______________________________________        §

                                CERTIFICATE OF SERVICE

       I hereby certify that on January 27, 2023, I caused a true copy of the foregoing,
PLAINTIFF’S MOTION TO DISMISS WITH PREJUDICE to be served via electronic mail
on all counsel of record.



Dated: January 27, 2023,                            Respectfully submitted,




                                                    ___________________________________
                                                    Erik Salaiz (Pro Se)
                                                    319 Valley Fair Way
                                                    El Paso, TX 79907
                                                    915-929-1527
                                                    e-Mail: salaiz.ep@gmail.com
